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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



              [PROPOSED] ORDER RE PLAINTIFF STATES’ UNOPPOSED
                   SECOND MOTION TO CORRECT THE RECORD

       Plaintiff States’ Unopposed Second Motion to Correct the Record by fixing transcription

errors on the mornings of October 3 and October 11, 2023, and the afternoons of October 2,

October 11, and October 24, 2023, is granted.

       The Court hereby orders that the trial record shall be corrected as indicated in the

“Correction” column in the table below. Transcription Errors have been crossed through and the

corrected text, or text which was incorrectly omitted and shall be added, has been underlined:
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Case 1:20-cv-03010-APM Document 774-1 Filed 11/14/23 Page 3 of 4
     Case 1:20-cv-03010-APM Document 774-1 Filed 11/14/23 Page 4 of 4




SO ORDERED.


Dated: November __, 2023                 ______________________________
                                                   Amit P. Mehta
                                          United States District Court Judge




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